                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:08CR134-RJC

UNITED STATES OF AMERICA             )
                                     )
               v.                    )                                 ORDER
                                     )
ALEJANDRO ENRIQUE RAMIREZ            )
UMANA,                               )
      a/k/a “Wizard”                 )
            “Lobo”                   )
                                     )
                    Defendant.       )
_____________________________________)

        THIS MATTER is before the Court on the government’s “Cross-Motion in Limine

Regarding Generalized Prison-Security Information” (Doc. No. 992) filed April 14, 2010; and the

defendant’s Response (Doc. No. 1014) filed April 22, 2010. For the reasons stated below, the Court

DENIES the government’s motion in limine.

I.      BACKGROUND

        The defendant stands convicted by a jury of multiple federal offenses arising out of his

affiliation with La Mara Salvatrucha, also known as the MS-13 gang (hereafter “MS-13"). Count

1 charged the defendant with a RICO conspiracy, in violation of 18 U.S.C. § 1962(d). As an overt

act in furtherance of this conspiracy, the defendant was charged with murdering two individuals,

Ruben Garcia Salinas and Manuel Garcia Salinas, in a restaurant in Greensboro, North Carolina.

These murders were also charged separately in Counts 22 and 24 as murder in aid of racketeering,

in violation of 18 U.S.C. § 1959(a)(1), and in Counts 23 and 25 as use of a firearm during and in

relation to a crime of violence resulting in death, in violation of 18 U.S.C. § 924(j). As required by

the Federal Death Penalty Act (“FDPA”), 18 U.S.C. § 3591 et seq., the government has given notice

of its intention to seek the death penalty in light of the defendant’s convictions on Counts 22, 23,

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24, and 25. (Doc. No. 275: Notice).

         The government’s Notice alleges the defendant’s future dangerousness as a non-statutory

aggravating factor in favor of the death penalty. (Doc. No. 275 at 4 & 7). Because Counts 22 and

24 carry a minimum life sentence, see 18 U.S.C. § 1959(a)(1), the government necessarily alleges

that the defendant would pose a danger to others even while incarcerated in federal prison. To rebut

the government’s allegation of future dangerous, the defendant intends to call two expert witnesses

in the fields of inmate violence and prison security, Dr. Mark Cunningham, a forensic psychologist,

and Mark Bezy, a former warden of a Bureau of Prisons facility. The defendant states that these

witnesses will offer expert opinions that the Bureau of Prisons is capable of safely housing the

defendant for the duration of a life sentence, regardless of the conduct alleged by the government.

         The defendant filed a motion for discovery related to this subject of testimony under Fed.

R. Crim. P. 16 and Brady v. Maryland, 373 U.S. 83 (1963), which the Court denied. (Doc. No. 997:

Order). In responding to the defendant’s motion for discovery, the government filed a cross-motion

in limine to exclude testimony from Dr. Cunningham regarding general prison security or typical

inmate behavior. Because the government has alleged specific conduct and individual characteristics

that demonstrate the defendant’s future dangerousness, the government argues that general evidence

of security measures or inmate discipline within the Bureau of Prisons is wholly irrelevant to rebut

these allegations. The Court disagrees.

II.      LEGAL FRAMEWORK

         Both the Constitution and the FDPA afford the defendant an opportunity to offer evidence

in rebuttal of the government’s evidence of aggravating factors. See 18 U.S.C. § 3593(c) (requiring

that “the defendant shall be permitted to rebut any information received at the hearing”); Gardner

v. Florida, 430 U.S. 349, 361-62 (1977) (finding it a violation of due process to sentence a defendant

to death “on the basis of information which he had no opportunity to deny or explain”). If a

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defendant’s only alternative to the death penalty is life in prison, the Supreme Court has specifically

identified evidence of that fact, as well any good behavior during previous periods of incarceration,

as proper rebuttal evidence to an allegation of future dangerousness. See Simmons v. South

Carolina, 512 U.S. 154, 168-69 (1994); Skipper v. South Carolina, 476 U.S. 1, 5 n.1 (1986).

          At the same time, a defendant may not offer general evidence of prison conditions or security

as a stand-alone mitigating factor. See Schmitt v. Kelly, 189 F. App’x 257, 264 n. 5 (4th Cir. July

13, 2006) (unpublished per curiam opinion). See also United States v. Caro, 483 F. Supp. 2d 513,

520 (W.D.Va. 2007); United States v. Johnson, 233 F.3d 665, 675 (7th Cir. 2000). Thus, such

evidence is admissible only to rebut a specific allegation that the defendant poses a continuing

danger to others in prison. See United States v. Taylor, 583 F Supp. 2d. 923, 936-38 (E.D. Tenn.

2008) (excluding evidence of prison security to rebut allegations of future dangerousness that related

solely to conduct occurring outside of prison). Moreover, “evidence that merely describes the

general conditions of incarceration” is irrelevant and inadmissible if it fails to show “how the

conditions of confinement would affect a particular defendant.” Schmitt, 189 F. App’x at 265.

III.      DISCUSSION

          In this case, almost all of the government’s evidence of future dangerousness relates to one

form of prison violence or another. To prove his future dangerousness, the government offered

evidence during its case-in-chief that while in federal or state custody awaiting trial, the defendant

has: (1) assaulted another inmate; (2) fashioned weapons and attempted to hide them on his person;

(3) attempted to assault a corrections officer; (4) continued to organize and operate MS-13 from

within prison; and (5) directed others to assault or kill cooperating witnesses, some of whom were

also incarcerated. The government has offered all of this evidence to show that the defendant poses

a continuing danger to correctional officers and other inmates. In short, the government alleges that

the defendant will never stop harming others in prison unless he is put to death. In light of these

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specific allegations, the expert testimony offered by Dr. Cunningham is within the scope of evidence

the defendant may offer to rebut future dangerousness.

       In so holding, the Court finds the instant case distinguishable from the Fourth Circuit’s

unpublished opinion in Schmitt v. Kelly. There, the court denied habeas relief to a petitioner

challenging his death sentence, issued by the Commonwealth of Virginia, on the ground that he was

prevented at trial from offering evidence of general prison security to rebut an allegation of future

dangerousness. Holding that the Commonwealth’s exclusion of such evidence was not an

unreasonable application of Simmons, Gardner, and Skipper, the court noted that these Supreme

Court precedents “do not define rebuttal evidence to include evidence that merely describes the

general conditions of incarceration, as opposed to evidence about how the conditions of confinement

would affect a particular defendant.” Schmitt, 189 F. App’x at 265.

       Here, Dr. Cunningham intends to offer an “appraisal of [Bureau of Prisons] security

measures and confinement conditions that can be applied to Mr. Umana to substantially reduce the

probability of serious prison violence.” (Doc. No. 984-1: Cunningham Declaration ¶ 2). To the

extent that Dr. Cunningham will testify as to the rates of prisoner violence at various security levels

within the Bureau of Prisons, it appears that he intends to use these statistics to make an

individualized prediction of whether the defendant will commit future acts of violence. (Id. ¶ 9-15).

He will attempt, therefore, to draw conclusions about how various conditions of confinement would

affect this “particular defendant.” Schmitt, 189 F. App’x at 265. Recognizing this, several district

courts have allowed Dr. Cunningham to offer similar testimony in capital cases where the

government has alleged the defendant’s future dangerousness. See United States v. Wilson, 493 F.

Supp. 2d 491, 508 (E.D.N.Y. 2007) (citing to Schmitt, 189 F. App’x at 264, but finding it

distinguishable); United States v. Caro, No. 1:06cr1, 2007 WL 419525, at *1-2 (W.D.Va. 2007)

(later refusing to offer an instruction of such evidence as a stand-alone mitigating factor); United

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States v. Sampson, 335 F. Supp. 2d 166, 227-28 (D. Mass. 2004). Upon the allegations present in

this case, Dr. Cunningham’s testimony is relevant to the jury’s assessment of the defendant’s future

dangerousness in prison.

         In sum, while the government may argue the validity of Dr. Cunningham’s methodologies

to the jury, it may not categorically exclude his testimony as improper rebuttal evidence. The Court

notes, however, that the expert testimony addressed herein remains subject to the overall evidentiary

standard set forth in the FDPA. Although Dr. Cunningham may give an opinion of the defendant’s

future dangerousness, he may not offer legal opinions or make unduly speculative predictions

regarding the defendant’s conditions of incarceration that are likely confuse or mislead the jury. See

18 U.S.C. § 3593(c).

IV.      CONCLUSION

         IT IS, THEREFORE, ORDERED that the government’s “Cross-Motion in Limine

Regarding Generalized Prison-Security Information” (Doc. No. 992) is DENIED.

                                                  Signed: April 26, 2010




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